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 1   JOSEPH SCHLESINGER, Bar# 87692
     Acting Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     ALEX LIAO
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 11-0056-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: April 9, 2013
     ALEX LIAO, et al.,           )      TIME: 9:15 a.m.
15                                )      JUDGE: Hon. Lawrence K. Karlton
                  Defendants.     )
16                                )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant,
20   ALEX LIAO, by and through his counsel, MATTHEW M. SCOBLE, Assistant
21   Federal Defender,and BINH THU LAM, by and through his counsel, MICHAEL
22   E. HANSEN, that the status conference set for Tuesday, January 26,
23   2013, be continued to Tuesday, April 9, 2013, at 9:15 a.m..
24      The reason for this continuance is to allow defense counsel
25   additional time to review discovery with the defendants, to examine
26   possible defenses and to continue investigating the facts of the case.
27      It is further stipulated that the time period from the date of this
28   stipulation, through and including the date of the new status
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 1   conference hearing, April 9, 2013, shall be excluded from computation
 2   of time within which the trial of this matter must be commenced under
 3   the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and
 4   (B)(iv)and Local Code T4 [reasonable time for defense counsel to
 5   prepare].
 6
 7   DATED: February 21, 2013             Respectfully submitted,
 8                                        JOSEPH SCHLESINGER
                                          Acting Federal Defender
 9
                                          /s/ Matthew M. Scoble
10                                        MATTHEW M. SCOBLE
                                          Assistant Federal Defender
11                                        Attorney for Defendant
                                          ALEX LIAO
12
13                                        /s/ Matthew M. Scoble, for
                                          MICHAEL E. HANSEN
14                                        Attorney for Defendant
                                          BINH THU LAM
15
     DATED: February 21, 2013             BENJAMIN B. WAGNER
16                                        United States Attorney
17                                        /s/ Matthew M. Scoble for
                                          TODD LERAS
18                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
19
20
21                                  O R D E R
22      Based on the stipulation of the parties and good cause appearing
23   therefrom, the Court hereby adopts the stipulation of the parties in
24   its entirety as its order.     It is hereby ordered that the presently set
25   February 26, 2013, status conference shall be continued to April 9,
26   2013, at 9:15 a.m.   It is further ordered that the time period from the
27   date of the parties' stipulation, February 21, 2013, through and
28   including the date of the new status conference hearing, April 9, 2013,


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 1   shall be excluded from computation of time within which the trial of
 2   this matter must be commenced under the Speedy Trial Act, pursuant to
 3   18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) and Local Code T4 [reasonable
 4   time for defense counsel to prepare].
 5      Based on the stipulation of the parties and good cause appearing
 6   therefrom, the Court hereby finds that the failure to grant a
 7   continuance in this case would deny defense counsel reasonable time for
 8   effective preparation taking into account the exercise of due
 9   diligence.   The Court specifically finds that the ends of justice
10   served by the granting of such continuance outweigh the interests of
11   the public and the defendants in a speedy trial.
12      IT IS SO ORDERED.
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     DATED: February 26, 2013
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